                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:18-CR-00349-RJC-DCK
 USA                                         )
                                             )
    v.                                       )               ORDER
                                             )
 JOHN A SUGG                                 )
                                             )

         THIS MATTER is before the Court upon motion of the defendant pro se, (Doc.

No. 33), to reconsider the denial of his motion for appointment of counsel to seek

compassionate release, (Doc. No. 32: Order).

         The United States Court of Appeals for the Fourth Circuit has ruled that

neither the federal statutes nor the Rules of Criminal Procedure authorize a motion

for reconsideration in a criminal case. United States v. Breit, 754 F.2d 526, 530 (4th

Cir. 1985) (“[D]efendant’s remedies are limited by the statutes and Federal Rules of

Criminal and Appellate Procedure . . .”). Accordingly, a defendant must file a notice

of appeal within 14 days after the entry of the order being appealed. Fed. R. App. P.

4(b)(1)(A)(i).

         IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 33),

is DISMISSED.

         The Clerk is directed to certify copies of this Order to the defendant and the

United States Attorney.

 Signed: September 25, 2020




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